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                                 #:23375



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                   IN THE UNITED STATES DISTRICT COURT
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          CENTRAL DISTRICT OF CALIFORNIA, SOUTHERN DIVISION
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12 PINN, INC.,                             Case No. 8:19-cv-1805-DOC-JDE
13                                         [PROPOSED] ORDER GRANTING
                        Plaintiff,
14                                         DEFENDANT APPLE INC.’S
         v.                                MOTIONS IN LIMINE NOS. 1-5 TO
15                                         EXCLUDE CERTAIN ARGUMENT
16 APPLE INC.,                             AND EVIDENCE RELATED TO
                        Defendant.         APPLE INC.
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18                                         District Judge: David O. Carter
                                           Magistrate Judge: John D. Early
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     [PROPOSED] ORDER GRANTING DEFENDANT APPLE INC.’S MOTIONS IN
                                                     LIMINE NOS. 1-5
                                      Case No. 8:19-cv-1805-DOC-JDE
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                                 #:23376



 1        Having considered Defendant Apple Inc.’s Motions in Limine Nos. 1-5 to
 2   Exclude Certain Argument and Evidence related to Apple Inc., and for good cause
 3   shown, it is hereby ORDERED that the following is GRANTED:
 4             Motion in Limine Number 1 as follows: Pinn shall not introduce
 5              argument, evidence, or questions regarding unannounced, non-accused
 6              Apple products;
 7             Motion in Limine Number 2 as follows: Pinn shall not introduce
 8              argument, evidence, or questions regarding Apple’s unrelated litigations
 9              and investigations;
10             Motion in Limine Number 3 as follows: Pinn shall not introduce
11              argument, evidence, or questions regarding Apple’s foreign operations
12              and contract manufacturers;
13             Motion in Limine Number 4 as follows: Pinn shall not introduce
14              argument, evidence, or questions regarding compensation of Apple
15              witnesses or employees; and
16             Motion in Limine Number 5 as follows: Pinn shall not introduce
17              argument, evidence, or questions regarding Steve Jobs and political
18              positions taken by Apple or its leadership.
19        IT IS SO ORDERED.
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21   Dated: ____________, 2021
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24                                            Hon. David O. Carter
                                              United States District Court Judge
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      [PROPOSED] ORDER GRANTING DEFENDANT APPLE INC.’S MOTIONS IN
                                                      LIMINE NOS. 1-5
                                       Case No. 8:19-cv-1805-DOC-JDE
